   Case 1:11-cr-00194-WMS-HBS          Document 150       Filed 06/17/13    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                      DECISION AND ORDER
                                                                     11-CR-194S
KEVIN BATTLES,

                            Defendant.




          1.   On May 14, 2013, the Defendant entered into a written plea agreement

(Docket No. 132) and pled guilty to Count Ten of the Indictment (Docket No. 1) charging

a violation of Title 21 U.S.C. § 841(a)(1) (possession with intent to distribute, and

distribution, of cocaine base).

          2.   On May 14, 2013, the Honorable Leslie G. Foschio, United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 135)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.   This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

          4.   This Court has carefully reviewed de novo Judge Foschio’s May 14, 2013,

Report and Recommendation, the plea agreement, the Indictment, and the applicable law.

Upon due consideration, this Court finds no legal or factual error in Judge Foschio’s Report

and Recommendation, and will accept Judge Foschio’s recommendation that Defendant’s

plea of guilty be accepted and that the Defendant be adjudicated guilty as charged.
   Case 1:11-cr-00194-WMS-HBS          Document 150      Filed 06/17/13   Page 2 of 2




      IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s May 14, 2013,

Report and Recommendation (Docket No. 135) in its entirety, including the authorities

cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Kevin Battles, is accepted, and he

is now adjudged guilty of Title 21 U.S.C. § 841(a)(1).

      SO ORDERED.


Dated: June 16, 2013
       Buffalo, New York


                                                       s/William M. Skretny
                                                    WILLIAM M. SKRETNY
                                                           Chief Judge
                                                   United States District Court




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